April 23, 2004


Mr. Ken W. Good
Kent Good &amp; Anderson, P.C.
909 E. S. E. Loop 323, Suite 777
Tyler, TX 75701-9684

Ms. Deborah J. Race
Ireland Carroll &amp; Kelley, P.C.
6101 South Broadway, Suite 500
Tyler, TX 75703
Mr. Kent Hance
Hance Scarborough Wright, LLP
111 Congress Avenue, Suite 500
Austin, TX 78701

RE:   Case Number:  02-0290
      Court of Appeals Number:  06-00-00053-CV
      Trial Court Number:  97-617-B

Style:      MUSTANG PIPELINE COMPANY, INC.
      v.
      DRIVER PIPELINE COMPANY, INC. AND SEABOARD SURETY COMPANY

Dear Counsel:

      Today, the Supreme Court of Texas delivered the  enclosed  per  curiam
opinion and judgment in the above-referenced cause.

                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Ms. Ruby      |
|   |Cooper        |
|   |Ms. Linda     |
|   |Rogers        |

